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                              UNITEDSTATESBANKRUPTCYCOURT
                               NORTHERNDISTRICTOFINDIANA
                                    FORTWAYNEDIVISION

INTHEMATTEROF:
JEREMYLSEACAT                                    CASENUMBER:19Ͳ10987
DALLASRSEACAT                                    CHAPTER13
Debtors
______________________________________________________________________________

                AGREEDMODIFICATIONOFPLANAFTERCONFIRMATION
                          PURSUANTTO11U.S.C.§1329(a)
______________________________________________________________________________

ThePlanconfirmedonOctober8,2019,isherebymodifiedasfollows:

       1. Debtors’ Plan payment shall increase to $2080.00 per month beginning with the

           August2021paymentfortheremainderofthePlanterm.

       2. Allothertermsandconditionsoftheconfirmedplanremainthesame.



Dated:August2,2021


Respectfullysubmitted,
/s/KatherineIskin                                        /s/_JeffArnold_
KatherineE.Iskin(33679Ͳ71),                            AttorneyforDebtors
StaffAttorneyforDebraL.Miller                         209W.VanBurenSt.
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                                               August 4, 2021.
